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          The United States Court of Federal Claims
                                      No. 06-911L
                                (Filed: October 7, 2011)

* ********************
                                         *
OMAHA TRIBE OF NEBRASKA,                 *
                                         *
                                         *   28 U.S.C. § 1500; United States v. Tohono
             Plaintiff,                  *   O’Odham Nation, 131 S.Ct. 1723 (2011);
                                         *   Substantial Overlap in Operative Facts;
v.                                       *   RCFC 12(h)(3).
                                         *
The United States,                       *
                                         *
             Defendant.                  *
                                         *
* ********************


Brian J. Leinback, Los Angeles, CA, for plaintiff.

Joshua A. Doan, U.S. Department of Justice, Washington, DC, with whom was Ignacia
S. Moreno, Assistant Attorney General, for defendant.


                        ORDER DISMISSING CASE
               FOR LACK OF SUBJECT MATTER JURISDICTION


FIRESTONE, Judge

      The plaintiff, Omaha Tribe of Nebraska (“Omaha Tribe”), filed this suit in the

Court of Federal Claims (“CFC”) against the defendant (“the government”) on December

28, 2006. See CFC Compl. More than eighteen months earlier, the plaintiff filed a

companion case against the government for declaratory and injunctive relief in the United

States District Court for the District of Columbia, Omaha Tribe of Nebraska v.
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Kempthorne, No. 1:04-cv-00901-JR (D.D.C.), on June 2, 2004, which it amended on

September 1, 2006, more than three months prior to filing this action. See District

Compl.; Am. District Compl. The plaintiff’s allegations in both cases relate to the trust

accounting and trust management duties and responsibilities allegedly owed by the

government to the plaintiff. See CFC Compl; Am. District Compl; see also Joint Mot. To

Stay (Feb. 20, 2007), ECF No. 6. Pending before the court in this case is briefing on the

question whether the plaintiff’s suit in the district court was “for or in respect to the same

claim” over which the plaintiff seeks relief in this court. For the reasons that follow,

because the plaintiff’s district court claim was “for or in respect to the same claim” as this

CFC suit and pending at the time this CFC suit was filed by the plaintiff, the court

determines that under the limit placed on the jurisdiction of the CFC by 28 U.S.C. § 1500

(“section 1500”) 1 it must dismiss the plaintiff’s suit for lack of jurisdiction pursuant to

Rule 12(h)(3) of the Rules of the Unites States Court of Federal Claims (“RCFC”) (“If

the court determines at any time that it lacks subject-matter jurisdiction, the court must

dismiss the action.”).


1
    That statute provides:

           The United States Court of Federal Claims shall not have jurisdiction of any
           claim for or in respect to which the plaintiff or his assignee has pending in any
           other court any suit or process against the United States or any person who, at
           the time when the cause of action alleged in such suit or process arose, was, in
           respect thereto, acting or professing to act, directly or indirectly under the
           authority of the United States.

28 U.S.C. § 1500.

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I.     PROCEDURAL HISTORY

       The plaintiff filed a case against the government for declaratory and injunctive

relief in federal district court on June 2, 2004, see District Compl., and filed an amended

complaint in that action on September 1, 2006, see Am. District Compl. 2 Three months

after filing its amended complaint, the plaintiff filed this suit against the government

seeking money damages on December 28, 2006. See CFC Compl. On February 22,

2007, following a joint motion of the parties, the court stayed this case so the parties

could pursue settlement discussions, renewing the stay on eight occasions at the repeated

joint request of the parties. See Orders Granting Joint Mots. To Stay, ECF Nos. 7, 9, 18,

21, 26, 28, 30, 33, 35. While this case was stayed, the Supreme Court entered its decision

in United States v. Tohono O’Odham Nation, 131 S.Ct. 1723 (2011), providing new

guidance on the application of section 1500. The Supreme Court held:

       The CFC has no jurisdiction over a claim if the plaintiff has another suit for
       or in respect to that claim pending against the United States or its agents.
       ....
       . . . Two suits are for or in respect to the same claim, precluding jurisdiction
       in the CFC, if they are based on substantially the same operative facts,
       regardless of the relief sought in each suit.




2
  When determining whether a claim is “pending” for purposes of section 1500, this court
follows the longstanding principle that “the jurisdiction of the Court depends upon the state of
things at the time of the action brought.” Keene Corp. v. United States, 508 U.S. 200, 207
(1993) (citations omitted). Because the amended district court complaint was the plaintiff’s
pending district court complaint at the time that the plaintiff filed suit in this court, this court
compares the amended district court complaint to the complaint in this action to determine
whether the two cases are based on substantially the same operative facts for purposes of section
1500.
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Tohono, 131 S.Ct. at 1727, 1731. In light of this decision, on June 1, 2011, the court

issued an Order to Show Cause, requesting briefing on the question of whether, based on

the Supreme Court’s decision in Tohono, the court’s jurisdiction over this case was

barred at the time of filing by the earlier-filed and still pending case in district court and

the operation of section 1500. See Order to Show Cause, ECF No. 38. In its brief, the

plaintiff argues that its two complaints do not contain the same factual allegations and are

based on different operative facts, and therefore asserts that section 1500 does not bar its

CFC claim. See Pl.’s Suppl. Br., ECF No. 39. In its response the government argues that

the court should dismiss the plaintiff’s complaint for lack of subject matter jurisdiction

based on the application of section 1500, arguing that this court never possessed

jurisdiction over the plaintiff’s suit because the plaintiff’s district court complaint and

CFC complaint allege claims that are based on substantially the same operative facts.

See Def.’s Resp., ECF No. 40. Oral argument was heard on October 4, 2011.

II.    DISCUSSION

       A.     Standard of Review

       All those seeking to invoke this court’s subject-matter jurisdiction ultimately

retain the burden of establishing that the jurisdictional requirements are met. Keener v.

United States, 551 F.3d 1358, 1361 (Fed. Cir. 2009) (citing Rocovich v. United States,

933 F.2d 991, 993 (Fed. Cir. 1991)); Alder Terrace, Inc. v. United States, 161 F.3d 1372,

1377 (Fed. Cir. 1998) (citing McNutt v. Gen. Motors, 298 U.S. 178, 189 (1936)).

Subject-matter jurisdiction may be challenged at any time by the parties or by the court

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sua sponte. Folden v. United States, 379 F.3d 1344, 1354 (Fed. Cir. 2004); see also

RCFC 12(h)(3). In deciding whether there is subject-matter jurisdiction, “the allegations

stated in the complaint are taken as true and jurisdiction is decided on the face of the

pleadings.” Folden, 379 F.3d at 1354 (citation omitted). If the court determines that it

does not have jurisdiction, it must dismiss the claim. RCFC 12(h)(3); Arbaugh v. Y&H

Corp., 546 U.S. 500, 514 (2006) (“[W]hen a federal court concludes that it lacks subject-

matter jurisdiction, the court must dismiss the complaint in its entirety.”) (citation

omitted); Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998). See generally

John R. Sand & Gravel, Co. v. United States, 552 U.S. 130 (2008), aff’g 457 F.3d 1345

(Fed. Cir. 2006).

       B.     Based upon Recent Supreme Court Precedent, Jurisdiction Over the
              CFC Complaint Is Precluded Because of the Substantial Overlap in
              Operative Facts.

              1.     The jurisdiction of the CFC under the Tucker Act and the
                     Indian Tucker Act is limited by 28 U.S.C. § 1500.

       This court has jurisdiction under the Indian Tucker Act, 28 U.S.C. § 1505, which

allows Native American tribes the right to bring suit in the Court of Federal Claims like

any other plaintiff. United States v. White Mountain Apache Tribe, 537 U.S. 465, 472

(2003) (“[T]he Indian Tucker Act[] confers a like waiver for Indian tribal claims that

‘otherwise would be cognizable in the Court of Federal Claims if the claimant were not

an Indian tribe’”) (quoting 28 U.S.C. § 1505). The Tucker Act establishes this court’s

jurisdiction over “any claim against the United States founded either upon the


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Constitution, or any Act of Congress or any regulation of an executive department, or

upon any express or implied contract with the United States, or for liquidated or

unliquidated damages in cases not sounding in tort.” 28 U.S.C. § 1491(a)(1). Like the

general Tucker Act, the Indian Tucker Act does not confer any substantive rights upon a

plaintiff; a plaintiff must establish an independent substantive right to money damages

from the United States in order for the case to proceed. See generally United States v.

Mitchell, 463 U.S. 206 (1983). In Indian trust accounting cases, the substantive right

must be found in statutes from which a trust relationship can be inferred, and one which

can reasonably be construed to imply a money remedy for breach. Id. at 217-218.

However, any claim brought in this court is subject to the limitations of section 1500.

Section 1500 provides:

       The United States Court of Federal Claims shall not have jurisdiction of
       any claim for or in respect to which the plaintiff or his assignee has pending
       in any other court any suit or process against the United States or any
       person who, at the time when the cause of action alleged in such suit or
       process arose, was, in respect thereto, acting or professing to act, directly or
       indirectly under the authority of the United States.

28 U.S.C. § 1500.

              2.     The Tohono decision clarified the test for identity of claims
                     under 28 U.S.C. § 1500.

       As noted above, the court’s issuance of the order to show cause and the

government’s argument for dismissal of the plaintiff’s complaint is based primarily on

Tohono, the recent Supreme Court case interpreting section 1500. The plaintiff in

Tohono filed a district court action against federal officials alleging a breach of fiduciary

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duty with respect to the management of tribal assets held in trust by the government.

United States v. Tohono O’Odham Nation, 131 S.Ct. 1723, 1727 (2011). In its district

court case, the plaintiff sought equitable relief, including an accounting of trust property.

Id. The day after filing its complaint in district court, the plaintiff filed a complaint in the

Court of Federal Claims, alleging nearly identical breaches of fiduciary duties based upon

the same tribal assets and sources of fiduciary duty, but seeking money damages. Id.

The Court of Federal Claims dismissed the case based on section 1500, holding that

“Section 1500 divests this court of jurisdiction over plaintiff’s claim because it arises

from the same operative facts and seeks the same relief as the claim in district court.”

Tohono O’Odham Nation v. United States, 79 Fed. Cl. 645, 659 (2007). The Federal

Circuit reversed based on Circuit precedent, holding that section 1500 is only applicable

if two claims both “arise from the same operative facts” and “seek the same relief.”

Tohono O’Odham Nation v. United States, 559 F.3d 1284, 1288 (Fed. Cir. 2009)

(quoting Loveladies Harbor, Inc. v. United States, 27 F.3d 1545, 1551 (Fed. Cir. 1994)

(en banc) (“For the Court of Federal Claims to be precluded from hearing a claim under

§1500, the claim pending in another court must arise from the same operative facts, and

must seek the same relief” (emphases in original))). The Circuit found that the relief

sought in the Court of Federal Claims action was different from that sought in the district

court, and thus section 1500 did not divest the Court of Federal Claims of jurisdiction

over the subject complaint.



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       The Supreme Court reversed the Federal Circuit, holding that the relief sought in

two complaints is superfluous to the question of whether two suits are “for or in respect

to” the same claim within the meaning of section 1500. The Supreme Court in Tohono

explained that, regarding section 1500, “[t]he rule is more straightforward than its

complex wording suggests. The CFC has no jurisdiction over a claim if the plaintiff has

another suit for or in respect to that claim pending against the United States or its agents.”

Tohono, 131 S.Ct. at 1727. The Court went on to state that “[t]wo suits are for or in

respect to the same claim, precluding jurisdiction in the CFC, if they are based on

substantially the same operative facts, regardless of the relief sought in each suit.” Id. at

1731 (emphasis added). The Court held that the statute’s use of the phrase “in respect to”

“does not resolve all doubt as to the scope of the jurisdictional bar, but ‘it does make it

clear that Congress did not intend the statute to be rendered useless by a narrow concept

of identity.’” Id. at 1728 (quoting Keene, 508 U.S. at 213). “It suggests a broad

prohibition, regardless of whether ‘claim’ carries a special or limited meaning.” 3 Id. The

3
  The Court noted that any hardship its ruling would cause the Tohono O’Odham Nation was “far
from clear” because although the plaintiff’s CFC case would have to be dismissed, an Indian
tribe in the plaintiff’s position could always bring a suit in the Court of Federal Claims after
resolution of the district court case because the statute of limitations on Indian trust
mismanagement claims would only begin to run once the government provided an appropriate
accounting. Tohono, 131 S.Ct. at 1731. Regardless, the Court held:

        Even were some hardship to be shown, considerations of policy divorced from
        the statute’s text and purpose could not override its meaning. Although
        Congress has permitted claims against the United States for monetary relief in
        the CFC, that relief is available by grace and not by right. . . . If indeed the
        statute leads to incomplete relief, and if plaintiffs like the Nation are
        dissatisfied, they are free to direct their complaints to Congress.

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Court concluded, as the Court of Federal Claims had, that the plaintiff’s two suits had

“substantial overlap in operative facts” based upon the identity of the trust assets at issue

and the alleged breaches of fiduciary duty, and noted, “Indeed, it appears that the Nation

could have filed two identical complaints, save the caption and prayer for relief, without

changing either suit in any significant respect.” Id. at 1731. Thus, the Court held, the

Court of Federal Claims possessed no jurisdiction over the claim until the district court

case was either dismissed or “complet[e]” and that after that time, the plaintiff would be

“free to file suit again in the CFC if the statute of limitations is no bar.” Id.

                3.      The district court complaint and the CFC complaint share the
                        same operative facts.

        In this case, the plaintiff contends that, unlike the plaintiff in Tohono, it has not

filed virtually identical complaints and argues that the two complaints do not contain the

same factual allegations and are based on different operative facts. The plaintiff argues

that the operative facts of each case are confined to the trust duties at issue in each case

and that the proof necessary to prevail in the two cases are entirely different. For the

district court action the plaintiff contends the operative facts “concern the government’s

conduct in providing an accounting, as well as the nature, scope, accuracy and

completeness of the accounting,” whereas for the CFC action the operative facts “identify

the source and nature of defendant’s fiduciary obligations to manage tribal monetary and

non-monetary trust assets” and “do not involve the evaluation of any accounting.” Pl.’s

Suppl. Br. 5-6. The plaintiff also contends that the court should construe any overlapping

Id. (internal citations omitted).
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facts as merely background facts that are not material to the proof of the plaintiff’s claims

and therefore are not operative. See id. at 4-6. Moreover, the plaintiff contends the

evidence that would be presented during the trial of the two cases will look very different,

with the trial in district court “dominated by accounting issues” and the trial in the CFC

“dominated by evidence relating to the handling of specific trust transactions and assets.”

Id. at 6.

        In response, the government contends both the amended district court complaint

and the CFC complaint allege claims that are based on substantially the same operative

facts, and thus this court should dismiss this case for lack of subject-matter jurisdiction.

Specifically, the government argues, “the two complaints use essentially identical factual

allegations to assert that the United States, as trustee, breached fiduciary duties owed to

Plaintiff by allegedly failing to account properly for and to manage properly Plaintiff’s

trust funds and assets.” Def.’s Resp. 5-6 (comparing District Compl. ¶¶ 16, 18-20, 26

with CFC Compl. ¶¶ 20, 22, 23, 35). Further, the government argues that the plaintiff’s

contentions regarding the distinction between background and operative facts in this case

as well as the plaintiff’s anticipated production of different evidence at the two potential

trials are meritless, where, as here, the plaintiff “recognizes that the accounting that it

seeks in the district court involves the same operative facts at issue in its CFC Complaint

and that the trust property at issue is the same for both cases.” Def.’s Resp. 12 (citing

CFC Compl. ¶ 23 (“To date, the Defendant has failed to provide that accounting or other

sufficient information which would otherwise afford the Plaintiff the ability to determine

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whether, and to what extent, it has suffered a loss as a result of the Defendant’s continual

wrongdoing or other breaches of trust.”)).

          The court finds that the government has the prevailing argument. As explained

below, an examination of the amended district court complaint and CFC complaint

reveals that at the time the CFC action was filed, the claims in each case arose from

substantially the same operative facts. Indeed, contrary to the plaintiff’s contentions, the

side-by-side table set forth below demonstrates that the two complaints are virtually the

same as the complaints at issue in Tohono. 4

            Excerpts from CFC Complaint                      Excerpts from Amended District Court Complaint

Parties                                                     Parties

“Plaintiff, OMAHA TRIBE OF NEBRASKA . . . is a              “Plaintiff is a federally recognized Indian tribe,
federally recognized Indian tribe, whose government         recognized by the United States a sovereign Indian tribe
was reorganized under the Indian Reorganization Act of      with legal rights and responsibilities . . . . which is
1934 (IRA), 25 U.S.C. § 461 et seq. It is recognized by     eligible for the special programs and services provided
the United States as a sovereign Indian tribe, under the    by the United States to Indians because of their status as
protection of the United States, with legal rights and      Indians, and because of the Plaintiff’s treaties and other
responsibilities. . . . which is eligible for the special   agreements with the United States.” Am. District
programs and services provided by the United States to      Compl. ¶ 2.
Indians because of their status as Indians, pursuant to
Plaintiff’s treaties and agreements with the United         Defendants are office holders charged by law with
States, various Acts of Congress, and federal common        carrying out the duties and responsibilities of the United

4
    The Supreme Court explained the substantial overlap in operative facts in Tohono as follows:

          The two actions both allege that the United States holds the same assets in trust
          for the Nation’s benefit. They describe almost identical breaches of fiduciary
          duty—that the United States engaged in self-dealing and imprudent investment,
          and failed to provide an accurate accounting of the assets held in trust, for
          example. Indeed, it appears that the Nation could have filed two identical
          complaints, save the caption and prayer for relief, without changing either suit in
          any significant respect.

Tohono, 131 S.Ct. at 1731 (“The CFC dismissed the action here in part because it concluded that
the facts in the Nation’s two suits were, ‘for all practical purposes, identical.’ [Tohono,] 79 Fed.
Cl. [at] 656[]. It was correct to do so.”); see also Tohono, 79 Fed. Cl. at 648-51 (comparing
complaints in side-by-side tables).
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law.” CFC Compl. ¶ 2.                                          States as trustee for the Plaintiff, administering the
                                                               Plaintiff’s trust funds, and preparing and maintaining
Defendant is the United States of America. See id. ¶ 3.        records in connection with those funds. See Id. ¶¶ 3-5.


Funds/Assets                                                   Funds/Assets

“Plaintiff resides on the Omaha Indian Reservation. The        “Plaintiff resides within an Indian Reservation
Plaintiff remains the successor in interest to the             established by the United States. The Plaintiff is a party
signatories of certain Indian treaties with the United         to, and/or the successor in interest to, the signatories of
States. Plaintiff is the beneficial owner of certain           certain Indian treaties with the United States and it is the
monies . . . . certain land and other trust assets, title to   beneficial owner of certain monies . . . held in trust for
which is held in trust by the United States for the benefit    the Plaintiff by the United States, as well as of certain
of the Plaintiff. Many of these lands are valuable for         land and other trust assets, title to which is held in trust
grazing, agricultural and recreational uses. The               by the United States for the benefit of the Tribe. The
Plaintiff’s trust assets also include the natural resources    Plaintiff is also the owner of the natural resources
located on that land, including . . . water, timber, gravel,   located on their land held in trust . . . including . . .
and a variety of mineral reserves. It also includes off-       water, timber, and a variety of mineral reserves. The
reservation trust lands, trust assets and usufructuary         Plaintiff’s trust holdings also include land which is
rights.” Id. ¶ 11.                                             valuable for grazing, agricultural, and recreational use,
                                                               and for other purposes.” Id. ¶ 8.

“Defendant has approved leases, easements, rights-of-          Defendant has “approved, among others: (A) agreements
way and other uses and conveyances of the property and         for the use and extraction of natural resources which are
the resources located therein . . . [as well as] various       or were located on the Plaintiff’s trust property, (B)
third party uses and taking of said land and resources. In     leases of the Plaintiff’s trust lands, (C) easements across
so doing the Defendant assumed responsibility for the          Plaintiff’s trust land, (D) grazing permits on the
collection, deposit and investment of the income               Plaintiff’s trust land, and (E) other grants, to third
generated or which should have been generated by such          parties, of the authority to use certain of the Plaintiff’s
conveyances and use rights.” Id. ¶ 15.                         trust lands and natural resources for specific purposes. .
                                                               . . [and] in certain limited instances, conveyed title . . . to
“The Treaties of 1815 and 1825 and many . . .                  third parties and . . . approved the use of certain of the
subsequent Omaha Treaties provided for the payment of          Plaintiff’s trust lands for Federal purposes. By granting
monies . . . . [and] the creation of Trust fund accounts in    these rights, the Defendant . . . assumed the legal
the United States Treasury and in some instances               responsibility for the collection of fair and equitable
established parameters for the management and use of           compensation for those conveyances or uses including,
those monies.” Id. ¶ 8.                                        but not limited to: royalty payments, grazing fees, rents,
                                                               purchase prices, and such other fees and payments as are
                                                               or were appropriate.” Id. ¶ 12.


Trust Obligations                                              Trust Obligations

“Under the terms of its treaties, and under other              “Under the terms of its treaties, and under other
applicable law, tribal land held in trust and the trust        applicable law, tribal land held in trust and the tribal
resources located on the Plaintiff’s lands are inalienable     resources located on those trust lands are inalienable
except as authorized by Congress, or by the terms and          except as authorized by Congress, or by the terms and
conditions of the Plaintiff’s treaties with the United         conditions of the Plaintiff’s treaties with the United
States and the Plaintiff’s federally approved organic          States. 25 U.S.C. [§] 177. Congress has granted the
documents. See, the Constitution and By-Laws of the            Secretary of the Interior the authority to approve
Omaha Tribe. Congress has granted the Secretary of the         conveyances of certain interests in the Plaintiff’s trust
Interior the authority to approve certain limited              lands and trust resources, including but not limited to:
conveyances of certain interests in the Plaintiff’s trust      leases, easements, rights of way, resource harvesting and
lands and trust resources, including but not limited to:       resource use agreements. . . . Federal law also generally
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leases, easements, rights of way, resource harvesting and         requires that compensation be paid to the Plaintiff for the
resource use agreements. . . . Federal law also generally         conveyance and the use of tribal lands and tribal trust
requires that compensation be paid to the Plaintiff for the       resources.” Id. ¶ 9.
conveyance and/or use of its trust lands and trust
resources.” Id. ¶ 12.

“Because the United States holds the Plaintiff’s lands,           “Because the United States holds the Plaintiff’s trust
resources and the proceeds generated by and from the              lands, trust resources and the proceeds generated by or
use, sale, or taking of said resources in trust, it has           from the use, sale, or taking of said resources in trust, it
assumed the obligations of a trustee. . . . As trustee, the       has assumed the obligations of a trustee. . . . As trustee,
United States has a fiduciary duty to the Plaintiff to            the United States has a fiduciary relationship with the
administer the trust with the greatest skill and care             Plaintiff and an obligation to administer the trust with
possessed by a trustee. . . . This includes a duty to insure      the greatest skill and care possessed by the trustee.” Id.
that the tribal trust property, funds and assets are              ¶14.
protected, preserved and managed in full compliance
with the Defendant’s trust duties and applicable law.” Id.        “The trust obligation of the United States includes,
¶ 16.                                                             among other duties, the duty to ensure that tribal trust
                                                                  property and trust funds are protected, preserved and
“Defendant in fact has undertaken and continues to                managed so as to produce the highest and best use and
undertake the responsibilities to account for, manage,            return to the tribal owner consistent with the trust
and otherwise act as a fiduciary trustee on behalf of the         character of the property. Said duty requires the United
Plaintiff.” Id. ¶ 21.                                             States to further insure that the Plaintiff is afforded its
                                                                  full rights to compensation.” Id. ¶ 15.
“In Article 1 of the Treaty of March 16, 1854 . . . the
Congress established the Omaha Indian Reservation . . . .         “Defendants have assumed the responsibility for the
While subsequent treaties and agreements diminished or            investment of the corpus of the trust, including trust
altered the boundaries of Plaintiff’s original Reservation        assets, the income that was and is being generated by the
and land holdings, the United States maintained a                 Plaintiff’s trust lands, and trust resources and by the
fiduciary obligation to protect those lands and the               other trust monies paid to the Plaintiff.” Id. ¶ 13.
Plaintiff’s interest therein . . . .” Id. ¶¶ 9-10.
                                                                  “Congress has charged the Defendants with fulfilling the
“Congress authorized the Secretary of the Interior to             obligations of the United States as trustee and with the
collect income from tribal trust property and to deposit          responsibility for the administration and management of
such trust income . . . for the benefit of the Plaintiff. . . .   all trust property of the Plaintiff in compliance with the
[and] directed that interest be paid on tribal trust funds,       Constitution . . .” Id. ¶ 17.
and required that such trust funds be invested. . . . [T]he
United States assumed a statutory duty . . . to properly          “[T]he United States took possession of certain of the
administer and manage the Plaintiff’s trust assets,               Plaintiff’s lands and other valuable resources. When the
monies and property for the highest and best use of the           United States took possession of those items it obligated
Plaintiff.” Id. ¶ 13.                                             itself to provide specific consideration to the Plaintiff. . .
                                                                  . [C]onsideration often took the form of money and/or
“Congress . . . has consistently required the United              goods and services which were to be provided by the
States to increase the productivity of funds that it holds        United States to the Plaintiff . . . [and] managed by the
in trust for Indian Tribes.” Id. ¶ 14.                            United States until that consideration was delivered.” Id.
                                                                  ¶ 11.
“Court of Federal Claims has . . . consistently held the
United States responsible for investing Indian trust funds
in the highest yielding investment vehicles available to
the funds in question.” Id. ¶ 17.

“The trust obligation of the United States includes . . .
the duty to insure that tribal trust property and trust
funds are protected, preserved and managed so as to
insure the highest and best use of those assets and funds,
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. . . the highest revenue to the tribal owner consistent
with the trust character of the property . . . . [and] to
further insure that the Plaintiff is afforded its full rights
to compensation for any taking of trust assets.” Id. ¶ 18.

“The Defendant . . . also has responsibility to:                “The trust obligations of the United States also include .
    A. Provide adequate systems for accounting for              . . the duty to:
        and reporting trust fund balances;                                (A) collect trust funds rightfully owed to the
    B. Provide adequate controls over receipts and                             Plaintiff;
        disbursements;                                                    (B) create trust accounts to hold those funds[;]
    C. Provide periodic and timely reconciliations to                     (C) insure that the monies owed or paid for the
        insure the accuracy of accounts;                                       loss or use of tribal lands and trust
    D. Determine accurate cash balances;                                       resources are placed into those accounts,
    E. Prepare and supply account holders with                            (D) maintain adequate records with respect to
        periodic statements of their account                                   the Plaintiff’s trust property,
        performance and with balances of their account                    (E) maintain adequate systems and controls to
        to be available on a daily basis;                                      guard against errors or dishonesty;
    F. Establish consistent written policies and                          (F) provide regular and accurate accountings
        procedures for trust fund management and                               to the Plaintiff as the trust beneficiary;
        accounting;                                                       (G) refrain from self-dealing or benefiting from
    G. Provide adequate staffing, supervision and                              the management of the trust property;
        training for trust funds management and                           (H) insure the Federal Government’s
        accounting; and                                                        compliance with the protections afforded
    H. Appropriately manage the natural resources                              the Plaintiff under the Constitution of the
        located within the boundaries of Indian                                United States and other applicable law and
        reservations and trust lands.” Id. ¶ 19.                          (I) to consult with the Plaintiff regarding the
                                                                               management of its trust property.” Id. ¶ 16.
“Trust obligations of the United States include . . . the
duty to:
    (a) exercise opportunities to obtain monetary               “By the Act of December 22, 1987 . . . Congress
         benefits from Plaintiff’s trust land and               imposed two requirements on the Defendants: (1) that
         resources,                                             they audit and reconcile tribal trust funds, and (2) that
    (b) enter into reasonable contracts to advance those        they provide the tribes with an accounting of such
         opportunities                                          funds.” Id. ¶ 22.
    (c) timely collect the trust funds rightly owed to
         the Plaintiff,
    (d) timely create trust accounts to hold those funds,
    (e) insure that the monies owed or paid for the loss
         or use of trust lands and resources are placed in
         those accounts in a timely manner,
    (f) maintain adequate records with respect to the
         Plaintiff’s trust property,
    (g) maintain adequate systems and controls to
         guard against errors or dishonesty,
    (h) provide regular and accurate accountings to the
         Plaintiff as the trust beneficiary,
    (i) refrain from self-dealing or benefiting from the
         management of the trust property,
    (j) insure the Federal Government’s compliance
         with the protections afforded the Plaintiff under
         the Constitution . . . and other applicable law,
         and
    (k) consult with the Plaintiff regarding the
         management of its trust property and the
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         implementation of the Government’s treaty
         obligations.” Id. ¶ 20.


Breaches of Trust                                               Breaches of Trust

“The Defendant fraudulently concealed operative facts           “Defendants have never rendered a full, accurate or
concerning the existence of the causes of action, claims        timely audit or accounting to the Plaintiff of its trust
and other instances of its mismanagement of trust               assets, or provided the Plaintiff with a clear statement as
property, assets and monies, so as to prevent the Plaintiff     to the origin or use of all of the funds in each of those
from fully prosecuting or pursuing its rights to a full and     accounts. . . . Defendants have kept and continue to keep
complete accounting, damages and other claims arising           the Plaintiff, who is the trust beneficiary, uninformed as
out of the Defendant’s failures as alleged herein. In           to: (A) the trust property, trust funds and trust resources
furtherance of their fraudulent concealment and                 it owns or owned, (B) the income and interest that the
deception, the Defendant . . . create[d] the false              Plaintiff’s currently owned and previously owned trust
appearance of a complete and meaningful accounting or           property, resources and funds have produced, and (C)
reconciliation of funds or monies otherwise due                 what disposition – if any – has been made of that
Plaintiff, and continuously . . . have continued to conceal     income; and (D) whether the United States has properly
the facts which would support Plaintiff’s claims, so as to      managed the Plaintiff’s trust assets.” Id. ¶ 18.
delay the accrual of any cause of action otherwise
arising out of the mismanagement of Plaintiff’s                 “[M]ismanagement . . . has resulted in losses to the
properties, land and other trust assets. Defendant has          Plaintiff, a trust beneficiary. However, the extent of the
continued, up to the present time, to fail to render any        losses is unknown to the Plaintiff at this time because
bonafide reconciliation and accounting despite being            the Defendants have:
legally obligated to provide such under applicable                        (A) failed to provide the Plaintiff with a full
federal law . . . .” Id. ¶¶ 33-35.                                              and complete accounting of the source of
                                                                                its trust funds,
“The Defendant’s continuing widespread and well-                          (B) failed to provide Plaintiff with accurate
documented Indian trust fund mismanagement, and other                           accounting of the amount contained in each
breaches of trust have affected . . . the Plaintiff’s trust                     of its accounts . . . ,
assets and have caused . . . monetary losses to the                       (C) failed to provide the Plaintiff with a
Plaintiff.” Id. ¶ 22.                                                           comprehensive statement of the use and
                                                                                investment of its trust funds . . . ,
“Defendant has failed to keep records of and/ or has                      (D) failed to maintain accurate books and
failed to keep proper records regarding the Plaintiff’s                         records of the Plaintiff’s account,
trust accounts and assets . . . . Defendant has never                     (E) lost and destroyed relevant trust account
provided the Plaintiff with a full and meaningful                               records,
accounting of its trust assets and trust funds. Indeed                    (F) failed or refused to disclose known losses,
before filing this action, the Plaintiff filed a complaint in                   or unmade or incomplete payments to the
the United States District Court for the District of                            Plaintiff . . . ,
Columbia demanding a full accounting of its trust                         (G) failed or refused to reimburse trust
accounts, trust assets and trust property.” Id. ¶ 23.                           beneficiaries for losses to their trust funds,
                                                                                and
“The Defendant has failed to obtain and continues to fail                 (H) failed to properly create certain trust
to obtain the maximum investment return possible . . . on                       accounts and deposit the appropriate
the Plaintiff’s trust funds. This breach of fiduciary duty                      monies in those accounts.” Id. ¶ 21.
has caused and continues to cause monetary loss to the
Plaintiff.” Id. ¶ 24.                                           “Defendants have continued to fail to implement the
                                                                reforms required by law and have hampered the Special
“Congress . . . [undertook] an investigation into               Trustee for American Indians in his efforts to perform
Defendant’s management and oversight over tribal trust          his legal obligations.” Id. ¶ 25.
accounts . . . . [and] has recognized the gross breaches of
trust described herein.” Id. ¶ 25.                              “To date, the Defendants have failed to provide the
                                                                Plaintiff with a full, accurate and timely accounting of
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“Defendant has breached its fiduciary duty . . . through        its trust funds and have failed to meet their other
its conduct and omissions stated as follows:                    statutory and legal obligation to the Plaintiff leaving
     A. . . . by failing to obtain the highest available        them in clear breach of their trust responsibility.” Id. ¶
         rates of interest and earnings on the Plaintiff’s      26.
         trust funds . . . .
     B. . . . by failing to deposit the Plaintiff’s trust       “The Plaintiff is entitled to declaratory and mandatory
         monies in interest bearing accounts in a timely        injunctive relief compelling the Defendants to manage
         manner.                                                the Plaintiff’s current and future trust funds and trust
     C. . . . by failing to properly invest the Plaintiff[’]s   assets in full compliance with all applicable law and
         trust monies in a timely manner.                       with their duties as the Plaintiff’s guardian and trustee.”
     D. . . . by prematurely withdrawing the Plaintiff’s        Id. ¶ 36
         trust funds from interest generating accounts.
     E. . . . by entering into or authorizing below             “The Tribe may have claims to damages that cannot be
         market value contracts, leases, permits, rights-       ascertained until after the Defendants make a
         of-way and other similar arrangements dealing          reconciliation and accounting of the Tribe’s trust
         with Plaintiff’s real property and natural             property and accounts. Some of these claims, should
         resources.                                             they exist, will have to be filed in the United States
     F. . . . by generally failing to obtain the highest        Court of Federal Claims.” Id. ¶ 38.
         and best price for the use and taking of
         Plaintiff’s trust assets.                              “WHEREFORE, the Plaintiff prays:
     G. . . . by failing to charge, or collect rents,           ...
         royalties or other proceeds on leases, permits,        4. For a judicial order preserving any claims that the
         rights-of-way . . . and/or by failing to collect       Plaintiff might uncover once it receives that accounting.
         and deposit those monies in interest bearing           5. For an order directing the Defendants to manage all
         accounts in a timely manner.                           of the Plaintiff’s current and future trust funds,
     H. . . . by allowing third parties to use, remove,         properties and resources in full compliance with all
         encumber, waste, damage, spoil and otherwise           applicable law and with their duties as the Plaintiff’s
         take possession of the Plaintiff’s trust assets        guardian and trustee.” Id. at 13 ¶¶ 4-5 (Prayer for
         without consultation with the Plaintiff and/or         Relief).
         without adequate compensation.
     I. . . . by allowing churches, schools, government
         agencies and other third parties to have the use
         and benefit of Plaintiff[’]s trust properties
         without adequate compensation.
     J. . . . by allowing third parties to cause damage to
         the Plaintiff’s trust properties and natural
         resources without paying compensation . . . .
     K. . . . by failing to enforce the reverter clause
         contained in various federal statutes and in
         various deeds and use agreements dealing with
         the Plaintiff’s real property . . . .
     L. . . . .by failing to properly invest and manage
         the Plaintiff’s judgment funds, Congressionally
         appropriated funds and other trust monies in a
         timely manner and in a manner which obtains
         the maximum investment return possible.
     M. . . . by failing to administer and manage the
         Plaintiff’s trust lands, funds and property with
         the greatest skill and care required of a trustee.
     N. . . . by failing to exercise opportunities which
         would have maximized the productive use of
         the Plaintiff’s land and resources and the
         income derived there from.
     O. . . . by failing to provide the consideration it
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        agreed to provide . . . in and pursuant to
        treaties, statutes, appropriations, contracts and
        other agreements involving the Plaintiff.
   P.   . . . by conveying or allowing the conveyance
        of the Plaintiff’s trust assets to third parties
        without adequate compensation and
        protections.
   Q.   . . . by engaging in self-dealing and/or by
        converting the Plaintiff’s trust assets to its own
        use without adequate compensation.
   R.   . . . by failing to adhere to the requirements of
        25 U.S.C. §162d.
   S.   . . . by failing to pay the Plaintiff the interest or
        compound interest on certain liquidated
        amounts and judgments. . . .
   T.   . . . by failing to charge, enforce and collect late
        penalties, breach of contract penalties, trespass
        damages and penalties, insurance payments,
        certain cost share and other payment
        obligations, condemnation awards, delinquent
        rent payments, damage claims and other similar
        damages and interest thereon.
   U.   . . . by failing to require lessee, permittees and
        other[] users of trust assets owned by the
        Plaintiff to procure bonds, insurance or surety
        arrangements to protect the rights of the
        Plaintiff and to collect from those sureties
        damages owed to the Plaintiff.” Id. ¶ 37.



        The Supreme Court in Tohono did not provide a definition of “operative facts” for

purposes of section 1500. See Central Pines Land Co. v. United States, No. 98-314L,

2011 WL 3913099, at *7, *7 n.4 (citing Black’s Law Dictionary 670 (9th ed.) (defining

“operative fact” as “A fact that constitutes the transaction or event on which a claim or

defense is based.”)). “However, courts have held that the facts alleged in two complaints

need not be identical for section 1500 to apply; rather, the two complaints must stem

from the same events.” Id. at *7 (citing Griffin v. United States, 590 F.3d 1291, 1294

(Fed. Cir. 2009) (finding that the same operative facts were present in two suits because

the plaintiff’s “injury for both claims stem[med] from the same single event”); Trusted

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Integration, Inc. v. United States, 93 Fed. Cl. 94, 100-103 (2010)). The Supreme Court

has also explained in Keene that a broad conception of the identity of facts is necessary to

give meaning to section 1500:

       The decision in British American Tobacco [Co. v. United States, 89 Ct. Cl.
       438 (1939),] strikes us, moreover, as a sensible reading of the statute, for it
       honors Congress’s decision to limit Court of Federal Claims jurisdiction not
       only as to claims “for . . . which” the plaintiff has sued in another court, but
       as to those “in respect to which” he has sued elsewhere as well. While the
       latter language does not set the limits of claim identity with any precision, it
       does make it clear that Congress did not intend the statute to be rendered
       useless by a narrow concept of identity providing a correspondingly liberal
       opportunity to maintain two suits arising from the same factual foundation.

Keene, 508 U.S. at 213. Thus, the fact that certain facts may be needed to meet elements

of proof of a legal theory articulated in one complaint but not the other does not prevent a

finding that two complaints constitute the same claim for purposes of section 1500.

Trusted Integration, 93 Fed. Cl. at 102. As the Federal Circuit has explained:

       [E]lements of proof are only relevant once a legal theory has been chosen.
       As previously discussed, the term “claim” in section 1500 “has no reference
       to the legal theory upon which a claimant seeks to enforce his demand . . .
       .” Since the legal theory is not relevant, neither are the elements of proof
       necessary to present a prima facie case under that theory.

Johns-Manville Corp. v. United States, 855 F.2d 1556, 1564 (Fed. Cir. 1988) (internal

citation omitted).

       This court has also previously held in Ak-Chin Indian Community v. United

States, 80 Fed. Cl. 305 (2008) that attempts to distinguish the government’s trust duties in

each complaint are unavailing, where “the operative facts, those facts upon which

plaintiff’s allegations of breaches of the government’s trust responsibility are based, are

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the same in both the Court of Federal Claims complaint and the District Court

complaint.” Id. at 319. The court explained the substantial overlap in operative facts in

Ak-Chin as follows:

       In each action, the courts must consider the government’s management and
       administration of plaintiff’s trust. The court will be required to review the
       government’s alleged failure to maintain records and account for plaintiff’s
       trust property by considering any existing records related to the
       government’s collection, handling, and investment of the Community’s
       trust funds and property. The nature of Indian trust cases and the
       government’s trust responsibility owed to Indian tribes does not lend itself
       to a simple delineation or separation of operative facts as they pertain to the
       government’s various duties owed to Indian tribes. It is not apparent to the
       court how it could address facts related to the government’s duty to invest
       and deposit plaintiff’s trust funds without considering the facts related to
       the government’s overall trust obligations owed to plaintiff, including its
       duty to account. It is simply not the case that there are two different and
       separate sets of trust duties described in plaintiff’s District Court complaint
       and its Court of Federal Claims complaint. Therefore, the court finds that
       plaintiff’s Court of Federal Claims complaint and District Court complaint
       contain the same operative facts for purposes of the § 1500 jurisdictional
       bar.

Id. at 319-20 (emphasis added). Again, in Red Cliff Band of Lake Superior Chippewa

Indians v. United States, No. 06-923L, slip op. (Fed. Cl. Sept. 19, 2011), the court

rejected these same arguments and dismissed the plaintiff’s later-filed claim in this court

pursuant to section 1500 as follows:

       The issue that plaintiff seeks to litigate here is the government’s alleged
       failure to have managed trust assets in the manner required of a competent
       trustee. This case, in other words, focuses on what the government, as
       trustee, should have done. But that contention cannot be successfully
       established without at the same time demonstrating what the government
       actually did (or failed to do). Of necessity then, plaintiff’s proof in this
       court must revisit the same facts that make up the substance of its district
       court case. Indeed, this very point is explicitly recognized in plaintiff’s

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       district court complaint where it states as follows: “The Tribe may have
       claims to damages that cannot be ascertained until after the Defendants
       make a reconciliation and accounting of the Tribe’s trust property and
       accounts. Some of these claims, should they exist, will have to be filed in
       the United States Court of Federal Claims.”[5] The necessity for an
       accounting as a prelude to a suit for damages in this court that is recognized
       in the quoted text means, in simple terms, that a case here is dependent
       upon what the accounting data shows [or does not show]. And given this
       acknowledged evidentiary overlap, it is simply not correct to assert that the
       two actions . . . turn on different operative facts.

Id. at 2-3.

       Tested by these standards, it is clear that the plaintiff’s district court complaint and

the complaint in this court constitute the same claim for purposes of section 1500. As in

Tohono, the operative facts alleged in the two complaints substantially overlap and in

certain instances are nearly identical. See Tohono, 131 S.Ct. at 1731 (“Two suits are for

or in respect to the same claim, precluding jurisdiction in the CFC, if they are based on

substantially the same operative facts, regardless of the relief sought in each suit.”); see

also Yankton Sioux Tribe v. United States, No. 2009-5027, 2011 WL 3873846, at *1

(Fed. Cir. Sept. 2, 2011) (“[T]he Court of Federal Claims lacks jurisdiction if a suit based

on substantially the same operative facts is pending in a district court regardless of

whether the complaints seek overlapping relief.”), aff’g Yankton Sioux Tribe v. United

States, 84 Fed. Cl. 225 (2008).

       Both complaints allege that the government failed to act as a prudent investor and

otherwise mismanaged the plaintiff’s trust funds and property. Both complaints allege


5
 Omaha Tribe has also made this statement in its district court complaint. See Am. District
Compl. at ¶ 38.
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the government breached its duties to account, keep adequate records, refrain from self-

dealing, preserve trust assets, and invest prudently to maximize returns. Both complaints

allege these breaches as to the same trust corpus, including tribal lands, natural resources,

grazing rights, mineral rights, rights in property, and trust funds. In analyzing these

allegations, this court and the district court will have to consider the government’s

management and administration of the plaintiff’s trust corpus, including reviewing the

existing records related to the government’s alleged failures in properly collecting,

handling, and investing the plaintiff’s trust funds and property in both cases. Moreover,

despite its contentions that the district court action will be dominated by accounting

issues, the plaintiff also seeks in that action declaratory and mandatory injunctive relief

compelling the government to manage the plaintiff’s current and future trust funds and

trust assets in “full compliance with all applicable law and with their duties as the

plaintiff’s guardian and trustee.” Am. District Compl. at ¶ 36. As with previous actions

before the court, here it is “not apparent to the court how it could address facts related to

the government’s duty to invest and deposit plaintiff’s trust funds without considering the

facts related to the government’s overall trust obligations owed to plaintiff, including its

duty to account.” Red Cliff Band of Lake Superior Chippewa Indians, No. 06-923L, slip

op. at 3 (quoting Ak-Chin Indian Community, 80 Fed. Cl. at 319).

       For these reasons, the court finds that the district court suit and CFC suit are

indeed “for or in respect to” the same claim because of the substantial overlap of

operative facts. See 28 U.S.C. § 1500; Tohono, 131 S.Ct. at 1731. Thus, section 1500

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precludes this court from exercising jurisdiction over the plaintiff’s CFC complaint

because, at the time the complaint was filed, the same claim was pending in the District

Court for the District of Columbia.

III.     CONCLUSION

         For the above-stated reasons, the court must DISMISS the Omaha Tribe of

Nebraska’s complaint for lack of subject-matter jurisdiction pursuant to 28 U.S.C. §

1500. The Clerk is directed to enter judgment accordingly. Each party to bear its own

costs.

IT IS SO ORDERED.


                                                       s/Nancy B. Firestone
                                                       NANCY B. FIRESTONE
                                                       Judge




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